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                                                  §
  JOHN DOE                                        §            CASE NO. 9:19-CV-6
                                                  §
  v.                                              §            JUDGE RON CLARK
                                                  §
  STEPHEN F. AUSTIN STATE                         §            MAGISTRATE JUDGE
  UNIVERSITY ET AL.                               §            KEITH F. GIBLIN

                            ORDER GOVERNING PROCEEDINGS

         Pursuant to 28 U.S.C. § 636, the District Court referred this matter to the undersigned
 United States Magistrate Judge for pretrial management. This Order shall govern proceedings in
 this case. The following deadlines are hereby set:

        1.      Rule 26(f) attorney conference on or before March 25, 2019.

        2.      Complete initial mandatory disclosures required by this Order: 10 days after
                deadline for Rule 26(f) conference.

        3.      File joint report of attorney conference: 14 days after deadline for Rule 26(f)
                conference. This should follow initial mandatory disclosures, so a realistic
                proposal regarding depositions and other discovery can be included.

        4.      The case is SET for a Rule 16 management conference on April 25, 2019 at
                10:45 a.m. in Courtroom #6, Jack Brooks Federal Building and U.S. Courthouse,
                300 Willow Street, Beaumont, Texas before Magistrate Judge Giblin. Lead counsel
                for each party, with authority to bind their respective clients, and all unrepresented
                parties, shall be present. Continuance of the management conference will not be
                allowed absent a showing of good cause. 1




        1
          Before the case management conference, counsel and unrepresented parties should review
 the most recent versions of the Federal Rules of Civil Procedure and the Local Rules for the Eastern
 District of Texas. The Local Rules are available on the Eastern District of Texas website
 (www.txed.uscourts.gov).

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                           RULE 26(f) ATTORNEY CONFERENCE

         Rule 26(f) requires attorneys of record and all unrepresented parties to confer and attempt
 in good faith to agree on a proposed scheduling order (see Appendix 1) and to electronically file a
 joint report outlining their proposals. The conference may be by telephone.

         Before commencing the Rule 26(f) conference, counsel must discuss settlement options
 with their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
 conference. Counsel should also inquire whether their clients are amenable to trial before a United
 States magistrate judge. Parties willing to consent should file the appropriate form electronically
 (see form on Eastern District of Texas website) as soon as possible, so that the case can be reset
 for management conference before the magistrate judge to whom the case is assigned.

        The parties must include the following matters in the joint conference report:

        1.      A brief factual and legal synopsis of the case.

        2.      The jurisdictional basis for this suit.

        3.      Confirm that initial mandatory disclosures required by Rule 26(a)(1) and this Order
                have been completed.

        4.      Proposed scheduling order deadlines. Appendix 1 has the standard deadlines.
                Explain any deviations from standard schedule. Now is the time to inform the
                court of any special complexities or need for more time before the trial setting.
                The standard schedule is planned so that there is time to rule on dispositive motions
                before parties begin final trial preparation.

        5.      If the parties agree that mediation is appropriate, and the parties can agree upon a
                mediator, the name, address, and phone number of that mediator, and a proposed
                deadline should be stated. An early date is encouraged to reduce expenses. The
                court may appoint a mediator upon request.

        6.      The identity of persons expected to be deposed.

        7.      Any issues relating to disclosure or discovery of electronically stored
                information, including the form or forms in which it should be produced.




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        8.      Any agreements or disputes relating to asserting claims of privilege or preserving
                discoverable information, including electronically stored information and any
                agreements reached under Federal Rule of Evidence 502.

        9.      Whether any other orders should be entered by the court pursuant to Federal Rule
                of Civil Procedure 26(c) or 16(b), (c).

        10.     The names of the attorneys who will appear on behalf of the parties at the
                management conference (the appearing attorney must be an attorney of record and
                have full authority to bind the client).

        11.     Whether the parties consent to trial by a magistrate judge. If so, the parties are
                directed to execute and efile the Consent to Proceed Before a Magistrate Judge
                form, which can be found on the Court’s website at www.txed.uscourts.gov under
                “Forms.”

        12.     Any other matters that counsel deem appropriate for inclusion in the joint
                conference report.

                              CONTESTED MOTION PRACTICE

        Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in addition to the
 Federal Rules of Civil Procedure. Local Rule CV-7 requires you to attach affidavits and other
 supporting documents to the motion or response. Labeled tabs on the attachments to the courtesy
 copy will make it easier to find them.

        If the motion with attachments exceeds twenty pages, the court requests that you bind the
 courtesy copy at the left to make it easier to read. This binding must be either spiral bound or
 three-hole punched and placed in a three-ring binder. You should print the docketed version of
 your motion from CM-ECF so that your motion includes the docket identifier at the top of each
 page.

         Pursuant to Local Rule CV-7(b), highlight in the courtesy copy the portions of the affidavits
 or other supporting documents which are cited in your motion or response.

                       SAFEGUARDING PERSONAL INFORMATION

         The Judicial Conference of the United States has implemented policies to protect sensitive
 private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy


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 case. To that end, all documents filed with the court and made available to the public, whether
 electronically or on paper, should limit certain information as follows:
         •              for Social Security numbers, use only the last four digits;
         •              for financial account numbers, use only the last four digits;
         •              for names of minor children, use only their initials;
         •              for dates of birth, use only the year; and
         •              (in criminal cases) for home addresses, use only the city and state.

        If such information is elicited during testimony or other court proceedings, it will become
 available to the public when the official transcript is filed at the courthouse unless and until it is
 redacted. The better practice is for you to avoid introducing this information into the record in the
 first place. Please take this into account when questioning witnesses or making other statements in
 court.

                                            DISCOVERY

       Initial mandatory disclosures pursuant to Rule 26(a)(1) shall be completed not later than ten
 days after the deadline for the Rule 26 attorney conference and shall include the following:

       1.       The correct names of the parties to the action.

       2.       The name and, if known, the address and telephone number of any potential parties
                to the action.

       3.       The name and, if known, the address and telephone number of persons having
                knowledge of facts relevant to a claim or defense of any party, a brief
                characterization of their connection to the case and a fair summary of the substance
                of the information known by such person. This may be combined with the list of
                persons required under Rule 26(a)(1)(A)(i) so that two lists are not needed.

       4.       The authorizations described in Local Rule CV-34.

       5.       A copy of all documents, electronically stored information, witness statements, and
                tangible things in the possession, custody, or control of the disclosing party that are
                relevant to a claim or defense of any party. This may be combined with disclosures
                under Rule 26(a)(1)(A)(ii) so that duplication is avoided. Parties are encouraged to
                agree upon provision of information by electronic means.

      See Local Rule CV-26(d) for meaning of “relevant to the claim or defense of any party.” A
 party that fails to timely disclose such information will not, unless such failure is harmless,
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 be permitted to use such evidence at trial, at a hearing, or in support of a motion. A party is
 not excused from making its disclosures because it has not fully completed its investigation of the
 case.

         Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2). See FED. R.
 CIV. P. 26(d)(2). But, these requests are not considered served until the Rule 26(f) conference has
 occurred. All other discovery shall not commence until the Rule 26(f) conference, (See FED. R.
 CIV. P. 26(d), 34) except that depositions may be taken by agreement, and initial mandatory
 disclosure shall occur, before the Rule 16 management conference, so that counsel are in a position
 to intelligently discuss additional required discovery, and scheduling of the case. Following the
 management conference, the court will enter a scheduling order setting deadlines controlling
 disposition of the case.

          The fact that the scheduling order will have a deadline for completion of discovery is NOT
 an invitation, or authorization, to withhold documents or information required to be disclosed as
 part of initial mandatory disclosures, under the guise of “supplementation.” Attorneys are expected
 to review their client’s files and to conduct at least preliminary interviews of their clients and
 potential witnesses under their control, so as to fully comply with the initial mandatory disclosure
 requirements by the deadline set in this Order.

         These procedures should allow witnesses to be efficiently deposed, experts to be timely
 identified and prepared to testify, and any follow-up paper discovery to be completed by the
 deadline set for completion of discovery. The court expects that, in most cases, after reading the
 pleadings and reviewing the opposing party’s initial disclosures an attorney should be alerted to
 any remaining information which should have been disclosed. A frank discussion of the issues
 and discovery during the Rule 26 attorney conference should inform counsel about the information
 that will be provided by agreement and whether there are disputes that should be brought before
 the court at the Rule 16 management conference. A party asserting that any information is
 confidential should immediately apply to the court for entry of a protective order. Unless a request
 is made for modification, the court will use its standard Protective Order, found on ED Texas
 website at Judges/ District Judge Ron Clark / Standard Forms.

                                    DISCOVERY DISPUTES

        A magistrate judge is available during business hours to immediately hear discovery
 disputes and to enforce provisions of the rules. The hotline is the best means to obtain an
 immediate ruling on whether a discovery request is relevant to any claims or defenses and on
 disputes which arise during depositions. The hotline number is (903) 590-1198. See Local Rule
 CV-26(e).


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         Before filing a motion to compel, a motion to quash, or a motion for protection from
 discovery, lead counsel must confer in good faith concerning the disputes. If agreement can not
 be reached, counsel should call the hotline. If the magistrate judge on duty is not available within
 a reasonable time, counsel should call the court and determine whether Judge Clark is available
 for a phone conference.

         Before calling the magistrate judge or this court on any dispute arising outside of a
 deposition, any attorney would be well advised to list, in about a half a page, the key points counsel
 wishes to make, any pertinent record references, and the applicable rule provision, statute, or case
 that supports counsel’s position.

        Electronic discovery: In cases involving disputes over extensive electronic discovery
 counsel for both sides shall review the court’s [Model] Order Regarding E-Discovery in Patent
 Cases before contacting the Hotline or filing motions to compel or to quash. The order can be
 modified for use in any case in which electronic discovery is an issue, and any ruling of the court
 on conduct of electronic discovery will likely be based, at least in part, on that model order. See
 ED Texas Website under Forms / Patent Forms / Order Regarding E-Discovery in Patent Cases..

                                       FAILURE TO SERVE

        Any defendant who has not been served with the summons and complaint within ninety
 days after the filing of the complaint shall be dismissed, without further notice, unless prior to
 such time the party on whose behalf such service is required shows good cause why service has
 not been made. See FED. R. CIV. P. 4(m).

                                      FICTITIOUS PARTIES

         The name of every party shall be set out in the complaint. See FED. R. CIV. P. 10(a). The
 use of fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue Shield, 112 F.3d
 869 (7th Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all fictitious
 parties. Dismissal is without prejudice to the right of any party to take advantage of the provisions
 of Federal Rule of Civil Procedure 15(c).

                                          SETTLEMENT
        Plaintiff shall immediately notify the court upon settlement.




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                                              COMPLIANCE
             Attorneys and pro se litigants who appear in this court must comply with the deadlines set
     forth in the Federal Rules of Civil Procedure, the Local Rules for the Eastern District of Texas and
     this order. A party is not excused from the requirements of a Rule or scheduling order by
     virtue of the fact that dispositive motions are pending, the party has not completed its
     investigation, the party challenges the sufficiency of the opposing party’s disclosure, or
     because another party has failed to comply with this Order or the rules.

             Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
     Procedure, or this order may result in the exclusion of evidence at trial, the imposition of sanctions
     by the court, or both. Counsel are reminded of Local Rule AT-3, particularly AT-3(I) & (J).


                    SIGNED this the 6th day of March, 2019.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE




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                                          APPENDIX 1
                      PROPOSED SCHEDULING ORDER DEADLINES

         The following actions shall be completed by the date indicated. 1 The dates indicated are
 the standard for most cases. Counsel should be prepared to explain the need for requested changes.

 ____________________                  Deadline for motions to transfer
 (1 week after mgmt conf.)

 ____________________                  Deadline to add parties
 (6 weeks after mgmt conf.)
 ____________________                  If parties plan to mediate, state date parties propose. This
                                       should be as early as possible, to avoid expense.

 ____________________                  Deadline to designate expert witnesses and reports on
 (10 weeks after mgmt conf.)           issues for which the party bears the burden of proof,
                                       pursuant to Federal Rule of Civil Procedure 26(a)(2) and
                                       Local Rule CV-26(b).

 ____________________                  Deadline for Plaintiffs to file amended pleadings. A motion
 (12 weeks after mgmt conf.)           for leave to amend is not necessary.

 ____________________                  Deadline to designate expert witnesses and reports on
 (16 weeks after mgmt conf.)           issues for which the party does not bear the burden of
                                       proof, pursuant to Federal Rule of Civil Procedure 26(a)(2)
                                       and Local Rule CV-26(b)

 7 weeks after disclosure             Deadline to object to any other party’s expert witnesses.
 of an expert is made                 Objections shall be made by a motion to strike or limit
                                      expert testimony and shall be accompanied by a copy of the
                                      expert’s report in order to provide the court with all the
                                      information necessary to make a ruling on any objection.
                                      The court will not accept objections to experts filed in any
                                      form—i.e., motions in limine—after this date. 2

        1
          If deadline falls on a Saturday, Sunday, or a legal holiday as defined in Federal Rule of
 Civil Procedure 6, the effective date is the first federal court business day following the deadline
 imposed.
        2
          This requirement has two goals: (1) to encourage early disclosure of experts so that if one
 is struck, the party will have time to find another; and (2) to avoid the gamesmanship that has
 become common as parties attempt to disqualify experts with a motion in limine thus distracting
 opponents during final trial preparations and perhaps even blocking testimony required to establish
 a claim or defense.
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                                      Expert reports should include the categories of information
                                      set out in Federal Rule of Civil Procedure 26(a)(2)(B)(i)-(vi)
                                      and 26(a)(2)(C)(i)-(ii). Challenges to expert reports include
                                      those set out in Federal Rule of Evidence 702(a)-(d) and
                                      703.

 ____________________                  Deadline for Defendant’s final amended pleadings. A
 (14 weeks after mgmt conf.)           motion for leave to amend is not necessary.

 ____________________                  Deadline for motions to dismiss, motions for summary
 (18 weeks after mgmt conf.)           judgment, or other dispositive motions.

 ____________________                  All discovery shall be commenced in time to be completed
 (28 weeks after mgmt conf.)           by this date.

 ____________________                  Notice of intent to offer certified records
 (9 weeks before docket call)
 ____________________                  Counsel and unrepresented parties are each responsible for
 (8 weeks before docket call)          contacting opposing counsel and unrepresented parties to
                                       determine how they will prepare the Joint Final Pretrial
                                       Order and Joint Proposed Jury Instructions and Verdict
                                       Form (or Proposed Findings of Fact and Conclusions of
                                       Law in non-jury cases).

                                       To avoid the cost of designating deposition extracts and
                                       objecting to same, counsel shall discuss witnesses who
                                       have to be presented by deposition. Counsel should agree
                                       on a list of witnesses whom each counsel will subpoena, or
                                       if beyond the subpoena range (see Federal Rule of Civil
                                       Procedure 45), whom each counsel will arrange to have
                                       present at trial.

 ____________________                  Motions in limine due.
 (6 weeks before docket call)          Deadline to file Joint Final Pretrial Order. (Obtain form for
                                       Exhibit List from Eastern District’s website.)

 _____________________                 Response to motions in limine due. 3
 (5 weeks before docket call)


        3
           To save time and space, respond only to items objected to. All others will be considered
 to be agreed. Opposing counsel shall confer in an attempt to resolve any dispute over the motions
 in limine within five calendar days of the filing of any response. The parties shall notify the court
 of all issues which are resolved.
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                                      File Proposed Jury Instructions/Verdict Form (or
                                      Proposed Findings of Fact and Conclusions of Law).

  ____________________                For witnesses who are not going to be called live, oral and
  (4 weeks before docket call)        video deposition designations due. Each party who
                                      proposes to offer a deposition by video shall serve on all
                                      other parties a disclosure identifying the line and page
                                      numbers to be offered. All other parties will have seven
                                      calendar days to serve a response with any objections and
                                      requesting line and page numbers to be offered. Counsel
                                      must consult on any objections, and only those which
                                      cannot be resolved shall be presented to the court. 4 The
                                      party who filed the initial Video Deposition Designation is
                                      responsible for preparation of the final edited video in
                                      accordance with all parties’ designations, and the court’s
                                      rulings on objections. (Designations are not to be made for
                                      witnesses who will appear live, nor for impeachment on
                                      cross-examination.)

  ____________________                File unresolved objections to oral and video deposition
  (2 weeks before docket call)        extracts.

  Date will be set by court.          If numerous motions are pending, the court may set a
  Usually within 10 days prior        hearing to consider all pending motions and objections.
  to docket call.

  April 7, 2020                       Docket call and Final Pretrial at 2:00 p.m. before
                                      Magistrate Judge Giblin in Courtroom #6 in Beaumont,
                                      Texas. Date parties should be prepared to try case. Provide
                                      court with two copies of Exhibit list, using form from
                                      District Clerks Office. Absent agreement of the parties,
                                      this should not have exhibits which were not listed in the
                                      Final Pretrial Order.

  April 30, 2020                      10:00 a.m. Jury selection and trial in Lufkin, Texas before
                                      Judge Clark. Case will then be tried in order with other
                                      cases on the docket. Depending on disposition of other
                                      cases on court’s docket, jury selection may be the following
                                      week. About a month before docket call, counsel may wish
                                      to consult with counsel for the other cases on the docket to
                                      determine whether their cases are likely to settle.


         4
            Opposing counsel shall confer to determine whether objections can be resolved without
  a court ruling. The court needs a copy of the pertinent deposition to rule on any objection.
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